510 F.2d 382
    10 Fair Empl.Prac.Cas.  1176,9 Empl. Prac. Dec. P 10,141*E. E. O. C.v.General Dynamics Corporation
    74-3633
    United States Court of Appeals Fifth Circuit
    3/4/75
    N.D.Tex., 382 F.Supp. 59
    
      1
      REVERSED AND REMANDED WITH DIRECTIONS***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of N
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    